    8:15-cb-00001-TDT       Doc # 10     Filed: 02/04/15    Page 1 of 1 - Page ID # 16




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                                 8:15CB1
       vs.                                            Violation Number 3159285 NE-6

                                                                  ORDER
DONALD D. MILLER,

                     Defendant.


              The Motion to Dismiss (Filing No. 9) of the United States Attorney=s Office is

granted. The above-referenced matter is hereby dismissed.


              ORDERED this 4th day of February, 2015.




                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
